 

	
	
	
	
	OSCN Found Document:CARROLL v. CAPITOL ONE AUTO FINANCE, INC.

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				CARROLL v. CAPITOL ONE AUTO FINANCE, INC.2015 OK CIV APP 27Case Number: 113028Decided: 02/13/2015Mandate Issued: 03/23/2015DIVISION ITHE COURT OF CIVIL APPEALS OF THE STATE OF OKLAHOMA, DIVISION I
Cite as: 2015 OK CIV APP 27, __ P.3d __

				

AMANDA CARROLL, Petitioner,
v.
CAPITOL ONE AUTO FINANCE, INC., Respondent,
and
AMERICAN ZURICH INSURANCE CO., Insurance Carrier.



PROCEEDING TO REVIEW AN ORDER OF THE WORKERS'
COMPENSATION COURT OF EXISTING CLAIMS

HONORABLE DAVID P. REID, TRIAL JUDGE



SUSTAINED



Donald E. Smolen, II, Jack Beesley, SMOLEN, SMOLEN &amp; ROYTMAN, PLLC, Tulsa, Oklahoma, for Petitioner,
Daniel K. Zorn, Timothy E. Lurtz, COLLINS, ZORN &amp; WAGNER, Oklahoma City, Oklahoma, for Respondent.




Kenneth L. Buettner, Judge:


¶1 Petitioner Amanda Carroll seeks review of an order of the Workers' Compensation Court of Existing Claims, which found Carroll did not sustain a compensable injury. Respondent Capitol One Auto Finance (Employer) argued Carroll's injury was not compensable because it occurred in an area not controlled by Employer and where essential job functions are not performed. The trial court's decision is not against the clear weight of the evidence or contrary to law and we sustain.

¶2 In her Form 3, Carroll sought compensation for a single incident injury incurred September 26, 2013. Carroll asserted she injured her back and left ankle when she slipped in a puddle of water. Employer denied the injury was compensable.

¶3 Following trial held June 11, 2014, the trial court entered its Order Denying Compensability June 23, 2014. The court found that Carroll fell "in the building where [Employer's] office was located" and noted other companies had offices in the same building. The trial court further found Carroll was on a scheduled break and had gone downstairs to a cafeteria in the building to eat. As she was leaving the cafeteria to return to her office on the second floor, Carroll slipped in water in a walkway. The court noted Employer also had an office on the main floor where the cafeteria was, but that Employer "did not own or operate the cafeteria on the walk way (sic) where [Carroll] fell." The trial court noted that injuries occurring in common areas not owned or maintained by the employer are not compensable pursuant to 85 O.S.2011 §312(6). The trial court denied Carroll's claim.

¶4 We will sustain the trial court's decision unless it is against the clear weight of the evidence or contrary to law. 85 O.S.2011 §340(D). The evidence showed that Carroll was on a mandatory 15 minute break at the time of her fall. Employer leased office space in a building in Tulsa and Carroll's work station was on the second floor. Employer maintained a break room on the second floor, but Carroll had gone to the first floor to a cafeteria to eat during her break. Employer did not operate the cafeteria or require its employees to use it, but it had arranged for its employees to receive a 10% discount at the cafeteria. After Carroll finished eating, she left the cafeteria to walk back to her work station on the second floor. While walking she slipped in liquid and fell, injuring herself. The parties disputed whether Carroll's injury arose out of and in the course of her employment.

¶5 At the time of Carroll's injury, the Workers' Compensation Code provided, in pertinent part:



The following shall not constitute a compensable injury under the Workers' Compensation Code:
. . . .
6. An injury which occurs outside the course of employment. Employment shall be deemed to commence when an employee arrives at the employee's place of employment to report for work and shall terminate when the employee leaves the employee's place of employment, excluding areas not under the control of the employer or areas where essential job functions are not performed; provided, however, when the employee is instructed by the employer to perform a work-related task away from the employee's place of employment, the employee shall be deemed to be in the course of employment when the employee is engaged in the performance of job duties directly related to the task as instructed by the employer, including travel time that is solely related and necessary to the employee's performance of the task. . . .



85 O.S.2011 § 312(6) (emphasis added) (repealed by Laws 2013, SB 1062, ch. 208, §171, eff. February 1, 2014). We agree with Carroll that prior to the enactment of §312, her injury likely would have been compensable. But this statute has been interpreted to mean what it says, which is that an injury occurring in an area not under the control of the employer or where essential job functions are not performed is not compensable. See Leandro v. American Staffcorp, Inc., 2013 OK CIV APP 68, __ P.3d __; Intermedix Corp. v. Wolf, 2013 OK CIV APP 82, 313 P.3d 287 (cert. denied). We recognize that another division of the Oklahoma Court of Civil Appeals has reached the opposite result, but we find the correct analysis is in Leandro and Intermedix. See Carney v. DirecTV Group, Inc., 2014 OK CIV APP 4, 316 P.3d 234. In this case, Carroll was injured in an area not controlled by Employer and in an area where essential job functions were not performed. Under either statutory basis, her injury did not arise out of and in the course of employment. The clear weight of the evidence supports the trial court's finding that Carroll's injury was not compensable. SUSTAINED.


GOREE, P.J., and BELL, J., concur.








	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Court of Civil Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2013 OK CIV APP 68, LEANDRO v. AMERICAN STAFFCORP, INC.Cited
&nbsp;2013 OK CIV APP 82, 313 P.3d 287, INTERMEDIX CORPORATION v. WOLFDiscussed
&nbsp;2014 OK CIV APP 4, 316 P.3d 234, CARNEY v. DIRECTV GROUP, INC.Discussed
Title 85. Workers' Compensation
&nbsp;CiteNameLevel

&nbsp;85 O.S. 312, Repealed by Laws 2013, SB 1062, c. 208, § 171, eff. February 1, 2014Discussed
&nbsp;85 O.S. 340, Repealed by Laws 2013, SB 1062, c. 208, § 171, eff. February 1, 2014Cited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
